          Case 1:14-mc-91352-FDS Document 6 Filed 01/26/15 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                      )
IN RE: NONJUDICIAL FORFEITURE                         )
PROCEEDING                                            )       MBD No. 14-91352-FDS
                                                      )

                    SECOND ORDER EXTENDING THE TIME TO FILE
                       CIVIL FORFEITURE COMPLAINT AND/OR
                     OBTAIN INDICTMENT ALLEGING FORFEITURE

       WHEREAS, Freddy Sanchez and Richard Sanchez (the “Claimants”) have filed claims to

the following property in a nonjudicial civil forfeiture proceeding with the United States Drug

Enforcement Administration (ADEA@):

               a.      $42,000 in United States currency, seized on June 14, 2014, from Freddy
                       Sanchez and Richard Sanchez in Stoughton, Massachusetts; and

               b.      $8,000 in United States currency, seized on June 16, 2014, from Bank of
                       America safe deposit box number 940, located at 677 Centre Street,
                       Boston, Massachusetts and held in the name of Freddy Sanchez

(collectively, the “Currency”).

       WHEREAS, the United States, with the assent of the Claimants, requests upon agreement

of the parties, as provided in 18 U.S.C. § 983(a)(3)(A), to extend the time in which the United

States is required to file a complaint for forfeiture against the Currency and/or to obtain an

indictment alleging that the Currency is subject to forfeiture;

       WHEREAS, the United States, with the assent of the Claimants, moves the Court to

extend the time in which the United States is required to file a complaint for forfeiture against

the Currency and/or to obtain an indictment alleging that the Currency is subject to forfeiture;

       WHEREAS, the United States represents to the Court that the DEA sent notice of its

intent to forfeit the Currency as required by 18 U.S.C. § 983(a)(1)(A), that no other person has

filed a claim to the Currency as required by law in the nonjudicial civil forfeiture proceedings,
           Case 1:14-mc-91352-FDS Document 6 Filed 01/26/15 Page 2 of 2




and that the time within which to file such claims has expired; and

         WHEREAS, the Court is authorized by 18 U.S.C. § 983(a)(3)(A) to extend the time in

which the United States is required to file a complaint for forfeiture against the Currency and/or

to obtain an indictment alleging that the Currency is subject to forfeiture based upon agreement

of the parties or good cause shown;

         ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

         Pursuant to 18 U.S.C. § 983(a)(3)(A)-(C), that the date by which the United States is

required to file a complaint for forfeiture against the Currency and/or to obtain an indictment

alleging that the Currency is subject to forfeiture is extended to April 3, 2015.



                                                       /s/ F. Dennis Saylor, IV

                                                      F. DENNIS SAYLOR, IV
                                                      United States District Judge
               1/26/2015
Dated:




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